Case: 4:24-cv-00520-JAR           Doc. #: 32     Filed: 06/10/24        Page: 1 of 2 PageID #: 950



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION



 STATE OF MISSOURI, et al.,

                    Plaintiffs,

          v.                                          Case No. 4:24-cv-520-JAR

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States,
 et al.,

                    Defendants.


               DEFENDANTS’ CONSENT MOTION FOR LEAVE TO FILE
                    NOTICE OF SUPPLEMENTAL AUTHORITY
       Defendants respectfully request leave to file a notice of supplemental authority regarding a

recent opinion in parallel litigation challenging the SAVE Plan, in which the U.S. District Court for

the District of Kansas granted in part and denied in part Defendants’ motion to dismiss. See Mem. &

Order, Kansas v. Biden, No. 24-cv-1057, ECF No. 68, 2024 WL 2880404 (D. Kan. June 7, 2024). As

good cause for this request, to which Plaintiffs consent, Defendants respectfully submit that some of

the Article III standing issues discussed in the recent Kansas opinion are also relevant to the above-

captioned matter, such that the Court might find it useful to read Judge Crabtree’s analysis. The

proposed notice of supplemental authority is attached to this motion.
Case: 4:24-cv-00520-JAR      Doc. #: 32   Filed: 06/10/24      Page: 2 of 2 PageID #: 951



      Dated: June 10, 2024                    Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              MARCIA BERMAN
                                              Assistant Branch Director

                                               /s/ Stephen M. Pezzi
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